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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-01429-RM-STV

  YOUTH SEEN, a Colorado non-profit corporation,
  and TARA J. SMELT, an individual,

                 Plaintiffs,

  v.

  TYES INC., a Colorado non-profit corporation,
  and ALISHA D. BLACKBURN, an individual,

                 Defendants.


   DEFENDANTS’ MOTION TO RESTRICT PUBLIC ACCESS TO DOCUMENTS AND
                           PROCEEDINGS


        Pursuant to D.C.COLO.LCivR 7.2, TYES, Inc. (“TYES”) and Alisha D. Blackburn

 (together, “Defendants”), through their undersigned counsel, move the Court for an Order to

 restrict public access to pleadings and other documents filed with the Court in this action that

 contain individuals’ personal and private information that could cause irreparable harm as

 described below.


                          D.C.COLO.LCIVR 7.1(A) CERTIFICATION

        Pursuant to D.C.COLO.LCivR 7.1.A, Defendants’ counsel certify that they have

 conferred with Plaintiffs’ counsel in a teleconference and Plaintiffs oppose this motion. The

 parties are currently discussing the contents of a protective order that would protect confidential

 and sensitive information produced in discovery, and expect to finalize those terms soon.
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 However, Defendants do not believe that a protective order, standing alone, is sufficient

 protection of the issue identified herein.


                                              MOTION

        By default, “the public shall have access to all documents filed with the court and all

 court proceedings.” D.C.COLO.LCivR 7.2(a). However, the Court may restrict public access

 where “the interest to be protected . . . outweighs the presumption of public access” and where “a

 clearly defined and serious injury . . . would result if access is not restricted.” D.C.COLO.LCivR

 7.2(c)(2) and (3). D.C.COLO.LCivR 7.2(c) states in full:

                (c) Motion to Restrict. A motion to restrict public access shall be
                open to public inspection and shall:

                (1) identify the document or the proceeding for which restriction is
                sought;

                (2) address the interest to be protected and why such interest
                outweighs the presumption of public access (stipulations between
                the parties or stipulated protective orders with regard to discovery,
                alone, are insufficient to justify restriction);

                (3) identify a clearly defined and serious injury that would result if
                access is not restricted;

                (4) explain why no alternative to restriction is practicable or why
                only restriction will adequately protect the interest in question
                (e.g., redaction, summarization, restricted access to exhibits or
                portions of exhibits); and

                (5) identify the level of restriction sought.

        For the reasons provided below, the requirements of D.C.COLO.LCivR 7.2(c) are met in

 this case. Defendants therefore respectfully ask that the Court restrict public access to all

 pleadings—including the Complaint and Jury Demand that Plaintiffs filed in this action on May

 26, 2021, and the Amended Complaint and Jury Demand that Plaintiffs shall file in the coming


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 days or weeks—and any other documents, exhibits, or attachments filed with the Court in this

 action. Defendants request that the Court impose “Level 1” restriction under D.C.COLO.LCivR

 7.2(b), limiting access to the parties and the Court.

 I.     TYES’S INTEREST IN MAINTAINING THE PRIVACY OF ITS MEMBERS
        AND THEIR TRANSGENDER CHILDREN OUTWEIGHS ANY PUBLIC
        INTEREST IN ACCESSING COURT DOCUMENTS IN THIS CASE

        Personal privacy interests are a legitimate reason to restrict public access under

 D.C.COLO.LCivR 7.2. See All Plastic, Inc. v. Samdan LLC, No. 20-CV-01318-NYW, 2021 WL

 2954769, at *1 – 2 (D. Colo. May 5, 2021) (“[A] party may overcome the presumption of public

 access where the records contain . . . private or personally identifiable information . . . or

 otherwise invade privacy interests. These principles are reflected in D.C.COLO.LCivR 7.2(a).”)

 As the U.S. Supreme Court has recognized, “[e]very court has supervisory power over its own

 records and files, and [public] access has been denied where court files might have become a

 vehicle for improper purposes” including “to gratify private spite or promote public scandal

 through the publication of the painful and sometimes disgusting details of a divorce case.” See

 Nixon v. Warner Commc'ns, Inc., 435 U.S. 589, 598 (1978) (internal citations and quotations

 omitted). The Court thus should not allow the public disclosure of “painful” and private

 information when it would “promote public scandal.” While not directly analogous, the Tenth

 Circuit has also recognized that “the privacy interest inherent in personal medical information

 can overcome the presumption of public access.” United States v. Dillard, 795 F.3d 1191, 1205–

 06 (10th Cir. 2015).

        In this case, TYES is a largely parent-run, volunteer organization supporting transgender

 children and their parents. See TYES, Inc. Home Page (available at https://tyes-colorado.org/),



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 attached hereto as Exhibit A. As indicated on TYES’s website, the organization’s members are

 parents of transgender children. Id. at 3. Transgender children commonly choose to live without

 publicly disclosing their transgender identity, oftentimes out of fear of physical harm or

 emotional torment from peers or others. See Human Rights Campaign, Transgender Children &

 Youth: Understanding the Basics (available at https://www.hrc.org/resources/transgender-

 children-and-youth-understanding-the-basics), attached hereto as Exhibit B, at p. 5 (“Stigma,

 lack of knowledge and fear of rejection by family and peers often keep transgender people from

 coming out as children or teens.”). Indeed, transgender individuals “consistently report

 dramatically elevated rates of anxiety, depression, and suicidality” that “are likely the result of

 years of prejudice, discrimination, and stigma; conflict between one’s appearance and state

 identity; and general rejection by people in their social environments . . . .” Olson, Kristina R et

 al. “Mental Health of Transgender Children Who Are Supported in Their Identities.” Pediatrics

 vol. 137,3 (2016): e20153223. doi:10.1542/peds.2015-3223 (available at

 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4771131/), attached hereto as Exhibit C, at p. 2.

        Documents/pleadings/motions filed in this case that do nothing more than identify the

 parents of these children as members of TYES automatically announce to the public the

 transgender identify of their children. In other words, if the public can identify the parents based

 on the information in Court documents, the public can easily identify transgender children who

 otherwise have not revealed, and do not want to reveal, that personal and private information.

        With that information public, the children could be subject to discrimination, physical

 harm, and emotional abuse from those who do not understand or accept their identity. See

 Human Rights Campaign, Transgender Children & Youth: Understanding the Basics (available



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 at https://www.hrc.org/resources/transgender-children-and-youth-understanding-the-basics),

 attached hereto as Exhibit B, at p. 2 (“transgender youth are at greatest risk of suicide (compared

 to their non-transgender peers) as a result of rejection, bullying, and other victimization.”);

 Lambda Legal, Know Your Rights, Bullying and TGNC Youth (available at

 https://www.lambdalegal.org/know-your-rights/article/youth-bullying-and-tgnc), attached hereto

 as Exhibit D, at p. 1 (“78% of respondents to the National Transgender Discrimination Survey

 (NTDS) reported being harassed, 35% attacked and 12% sexually assaulted.”). Since 2008,

 Colorado’s anti-discrimination law has identified transgender persons as a protected class,

 evidencing the legitimate risk of these harms. Moreover, the harm of public dissemination of a

 child’s transgender identity is irreparable—once the information is in the public domain, it

 cannot be made private again. Of course, if this lawsuit remains public, the parents of these

 children would also face their own fear and emotional torment that their children might suffer

 based on the revelation that the parents have been involved in TYES, an organization seeking to

 help parents of transgender children.

        While the safety and well-being of the children of TYES parents is paramount, public

 access would also restrict Defendants’ ability to respond in this lawsuit. TYES is a Defendant in

 this case. It did not choose to bring this lawsuit. On the contrary, TYES has, at all times, sought

 to restrict public knowledge of this dispute precisely to avoid identification of the parents and

 children involved in the organization and putting those children at risk. TYES parents might

 have relevant information to this case. If their identity, including potential testimony, is subject

 to public scrutiny, those parents will be reluctant to provide their evidence and risk revealing

 their child’s transgender identity. Parents should not have to choose between providing truthful



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 evidence in a court proceeding and protecting their children’s safety. Restricting public access

 would remove this fear and prevent prejudice to Defendants’ ability to litigate this case.

         The public dissemination of private and personal information (the identities of

 transgender children) constitutes a legitimate interest to be protected under D.C.COLO.LCivR

 7.2(c)(2). Transgender identity is “private or personally identifiable information” and public

 access would “invade privacy interests.” See All Plastic, Inc. v. Samdan LLC, No. 20-CV-

 01318-NYW, 2021 WL 2954769, at *1 (D. Colo. May 5, 2021). The information is at least as

 private as personal medical information, and the Tenth Circuit has recognized the “inherent”

 privacy interest in such information. See United States v. Dillard, 795 F.3d 1191, 1205 – 06

 (10th Cir. 2015). Furthermore, the likely physical and emotional harm that would result from the

 public dissemination of inherently private information constitutes a “clearly defined and serious

 injury that would result if access is not restricted.” D.C.COLO.LCivR 7.2(c)(3).

         Protection of this interest “outweighs the presumption of public access.”

 D.C.COLO.LCivR 7.2(c)(2). Although the public has a general interest in the cases that come

 before the Court, the public has no legitimate interest in knowing the identities of TYES’s

 parents or their children. Protecting the identity, safety, and health of transgender children must

 take priority.

 II.     NO ALTERNATIVE TO RESTRICTION IS PRACTICABLE

         There is no practicable less-restrictive alternative to restricting public access to the

 documents filed in this case. See D.C.COLO.LCivR 7.2(c)(4). Redacting all information that

 might identity a TYES parent or their children would not adequately protect the privacy interests

 at issue here. Indeed the very caption of the case contains the name of a TYES parent whose



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 child is now at significant risk simply because of the public filing of this lawsuit in the first

 place.

          As a result, the Court can only protect the identities, the privacy, and the physical and

 emotional health of the minor children whose parents may be identified in the documents filed in

 this case by restricting public access to pleadings, motions, exhibits, and other documents that

 may contain information identifying parents or their children. Given the magnitude and

 permanence of the risk of harm, this is the only option.


                                            CONCLUSION

          Under D.C.COLO.LCivR 7.2, the Court may restrict public access where “the interest to

 be protected . . . outweighs the presumption of public access” and where “a clearly defined and

 serious injury . . . would result if access is not restricted.” For the foregoing reasons, the

 requirements of D.C.COLO.LCivR 7.2 are met in this case. Defendants therefore respectfully

 ask that the Court enter an order to restrict public access to all filings in this case and to impose

 on these documents “Level 1” restriction under D.C.COLO.LCivR 7.2(b), limiting access to the

 parties and the Court.




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 Dated: October 20, 2021.            Respectfully submitted,



                                     s/ Tamera D. Westerberg
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                         CERTIFICATE OF SERVICE (CM/ECF)

         I HEREBY CERTIFY that on October 20, 2021, I electronically filed the foregoing
 DEFENDANTS’ MOTION TO RESTRICT PUBLIC ACCESS TO DOCUMENTS AND
 PROCEEDINGS with the Clerk of Court using the CM/ECF system which will send
 notification of such filing to the following email addresses:

       •   Leah P. VanLandschoot
           lvanlandschoot@thelitbot.com, christa@thelitbot.com

       •   Amy M. Maestas
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                                          s/ Tamera D. Westerberg
